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                    EXHIBIT 2

      Redacted Version of
       Document Sought
         to be Sealed
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January 26, 2023


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VIA E-MAIL

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Re:     Brown, et al. v. Google LLC, Case No. 4:20-cv-03664-YGR-SVK (N.D. Cal.); Calhoun,
        et al. v. Google LLC, Case No. 4:20-cv-05146-YGR-SVK (N.D. Cal.)


Dear Counsel,

       We write in advance of our meet and confer regarding the                        and Analytics
mapping/linking tables that are the subject of Google’s motion for relief in both Brown (Dkt. 782)
and Calhoun (Dkt. 898). To ensure a productive and efficient meet and confer, we provide the
following information to demonstrate “how the information in the tables that are the subject of the
Motion is contained in or may be derived from other information that Google is preserving.” Brown
Dkt. 830 at 2; Calhoun Dkt. 960 at 3; see also 1/10/23 Brown Hrg. Tr. 30:1-6 (directing Google
to “show both sides of the equation, which is here’s the data in the tables that we don’t think need
to be preserved from the      tables, but here’s how and where you find it in the material[.]”); id.
31:22-23 (requiring Google to show “this is the linking in the     tables at issue, and here’s where
you find it in what is already being preserved.”).

                       Tables. As explained in the motion and at the hearing, all
tables contain Biscotti ID linkages derived from other tables that Google is separately preserving.


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The       tables aim at different measurement and targeting use cases, and are stored in the
following directories:

   ●
   ●
   ●
   ●

        Below are sampled entries from                                                         The
entries highlighted in blue represent linked Biscotti IDs that have been grouped together under a
single           (“                        ”) and are identified as possibly belonging to the same
user. See Calhoun Dkt. 942-5, Trebicka Ex. 1 (GOOG-CALH-00374314) at -353 (“
provides a single graph of Biscotti IDs where a link in the graph indicates the       Biscotti IDs
belong to the same user”).




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      The entries highlighted in red (values in the “      ” field) represent the source tables
from which the Biscotti linkages were derived. Below is the source code used to define the
“          ” field as well as the corresponding comment:




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        As the above field definition indicates, the Biscotti linkages contained in the
tables are derived from the following mapping/linking tables. Google is separately preserving all
these tables.




See id. at -354, -355.
       Analytics Tables. As explained in the Declaration of Sree Pothana, the        Analytics
tables—                  and                                      —contain mappings between
UID/CID to Biscotti or UID/CID to device ID. These tables do not include mapping to GAIA IDs.
Brown Dkt. 781-10 ¶ 5; Calhoun Dkt. 897-12 ¶ 5. Google Analytics does not receive device IDs
when users visit Google Analytics customer websites. Id.
       Below are sampled mapping entries from the                 table. The entry highlighted in
yellow is an encoded string that represents a combination of IDs corresponding to each      client
and CIDs; the entry highlighted in orange is an encoded string that represents a combination of
IDs corresponding to each          client and UIDs. The “          ” field (highlighted in green)
contains Biscotti ID. As shown below, the             table maps CID/UID to Biscotti ID.




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        Below are sampled mapping entries from the                   table. The entries highlighted
in orange are encoded strings that represent a combination of IDs corresponding to each       client
and CIDs. The “         ” field (highlighted in blue) contains Biscotti ID. As shown b elow, the
visitor_history table maps CID to Biscotti ID.




         The Brown Plaintiffs will not need these     mapping tables to read any of the preserved
data because for a given sampled entry in the preserved Analytics logs (
                                                  and
                  ), any mapping of UID/CID to Biscotti will be self -contained within the sampled
data. UID and CID values are populated in the “          ” field and Biscotti value s are populated
in the “              ” field.
       The Calhoun Plaintiffs will likewise not need these tables to interpret any of the preserved
data because: (1) the only data sources in the preservation order that relate to Google Analytics are
in GAIA           or            , which are all keyed to GAIA; and (2) as explained above, these
    mapping tables include no mappings to GAIA.
                                         *       *       *

       We look forward to discussing this in more detail at the upcoming meet and confer.




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Sincerely,

QUINN EMANUEL URQUHART & SULLIVAN, LLP




Viola Trebicka

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